ae JEFFREY LOQ aN

Case: 1:03-cv-¢ 8590\Dot

ROBERT KUC,| |

GEORGE PASS Sag )

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Defendants. )
RELEASE AND SETTLEMENT AGREEMENT

Plaintiff, ROBERT KUC, by his attorney, Richard J. Dvorak, and defendant
CITY OF CHICAGO, by its attorney, Mara S. Georges, Corporation Counsel of the City
of Chicago, and defendants, GEORGE PASSAS and J EFFREY tbouERcio, by one of
their attorneys, J onathan Clark Green, Assistant Corporation , Counsel, berein stipulate
and agree to the following: ot : . | |
1. This action has been brought by plaintiff, ROBERT KUC ( “Plaintiff ’

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against defendants, erry OF CHICAGO BORGE PASSA
LOQUERCIO Ge eetively x referred 1 as 3

contained in Plaintiffs Complaint.

2. Defendants deny each and every allegation of wrongdoing as stated in
Plaintiffs Complaint, and, further, deny liability.

3. The parties and their respective attomeys acknowledge that settlement of
this claim is not an admission of liability, or of unconstitutional or illegal conduct by or
on the part of any of the Defendants and/or the City of Chicago and/or its future, current
or former officers, agents and employees, and shall not serve as evidence or notice of any
wrongdoing by or on the part of any of the Defendants and/or the City of Chicago and/or

its future, current or former officers, agents and employees. The parties and their

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a consistent with the | tars of this Release ‘and Settlement Agreement.

os attorneys’ fees.

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Case: 1:03-cv-08590 mH

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Defendants 4 rf

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4. In consideration of this settlement entered pursuant to this Release and

Settlement Agreement, and upon advice of counsel, Plaintiff ROBERT KUC, agrees to,
dismiss with prejudice all of her claims against Defendants, cITY OF CHICAGO,
GEORGE PASSAS and JEFFREY LOQUERCIO, with each side bearing its own costs

and attorneys’ fees. oa

3. Plaintiff, ROBERT KUC, accepts a settlement frp
in the total amount of BIGHTEEN THOUS AND FIVE , NDR
(S18, 500.00) DOLLARS, covering au ve Defendants, cr :
GEORGE PASSAS and JEFFREY'LOQUERCIO, as! well as !

employees, whether named 0 nnam with each side bearir “its

6. The City of Chicago agrees to pay plaintiff the total settlement amount
within sixty (60) days after receipt by the Corporation Counsel's Office of a file-stamped
copy of the Agreed Order of Dismissal. This sum shall be payable solely by the City of
Chicago, and plaintiff and/or her attomey agree that they will not seek payment from any
source other than the City of Chicago. The settlement check will be made payable to
Plaintiff, his attorney, and lien claimants, if any, of which the City has notice.

7. In consideration of this settlement entered pursuant to this Release and
Settlement Agreement, and upon advice of counsel, Plaintiff agrees to indemnify and

hold harmless the City of Chicago, and its future, current or former officers, agents and .
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employees including, but not limited to, Defendants, CITY OF CHICAGO, GEORE |
PASSAS and JEFFREY LOQUERCIO, from a1 by claims, losses, damages or exper 7 .

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lien or any other claim or interest held by any person, entity or co oration against a

including attomeys' fees and costs, incurred, or

moneys received or to be received aby plaintiff under the settlement lentered ours an 4

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consideration of the settlement entered pursuant to this Release and Settlement

Agreement, Plaintiff does hereby release and forever discharge on behalf of herself and
her heirs, executors, administrators and assigns, all claims she had or has against
Defendants, CITY OF CHICAGO, GEORGE PASSAS and JEFFREY LOQUERCIO,
and the City of Chicago’s future, current, or former officers, agents and employees,
including but not limited to all claims she had, has, or may have in the future, under local,
state, or federal law, arising either directly or indirectly out of the incident which was the
basis for this litigation, and that such release and discharge also is applicable to any and
all unnamed and/or unserved defendants.

9. This Release and Settlement Agreement and any documents that may be |

regard to the settlement of this action, and shall be ‘binding upon 1 and i inure to the benefit
of the parties hereto, jointly and severally, and the heirs, executors, administrators,
personal representatives, successors, and assigns of each.

10. This Release and Settlement Agreement is entered into in the State of

Illinois and shall be construed and interpreted in accordance with its laws. Terms

contained herein shall not be construed against a party merely because that party is or
was the principal drafter.

11. In entering into this Release and Settlement Agreement, Plaintiff
represents that he has relied upon the advice of his attorney, who is the attorney of his

own choice, and that the terms of this Release and Settlement Agreement have been

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and any and all supplementary documents and to|take all additional actions which are

consistent with and which may be necessary or appropriate to give full force and effect to

|
CITY OF CHICAGO,

a Municipal Corporation
Mara S. Georges :
Corporation Counsel
Attomey for CIT v OF CHI

. Address: 3049 N. Normandy

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Chicago, Illinois 60634 BY:

Date of birth: 9/1/63
SSN: XXX-XX-XXXX Chicago, Hlinois 60602
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: Attorney No} 061

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sst ration Counsel —

30 North LaSalle Street, Suite 900

“G12 748-921,,

DATE: “|S:
Richard J. Dvorak
Attomey for Plaintiff,
ROBERT KUC . nathanClark Green\
Law Offices of Richard J. Dvorak Assistant Corporation Counsel
6133 South Ellis Attorney for defendants,
Chicago, Ilinois 60637 GEORGE PASSAS and
(773) 752-7586 JEFFREY LOQUERCIO

Attorney No. _(,2-/,9 (3?
DATE: 6-26 ~<y

Chicago, Illinois 60602
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